
PER CURIAM.
The Florida Department of Revenue raises two issues in this appeal of a Final Administrative Support Modification Order determining the child support obligation of Appellee Scotty Weaver (the father). In the first issue, the Department argues that the administrative law judge (ALJ) erred by concluding that he lacked authority to enter a support order exceeding the amounts set forth in the Department’s Proposed Order to Modify Administrative Support Order based on new information developed at an evidentiary hearing that would increase the father’s child support obligation under the statutory child support guidelines. In the second issue, the Department argues that the Final Administrative Support Order is not supported by competent, substantial evidence. Consistent with our opinion in Department of Revenue v. Reyes, 181 So.3d 1270 (Fla. 1st *962DCA 2015), we resolve both issues by concluding that the ALJ was required to establish the father’s child support obligation based on the evidence presented at the hearing. By limiting the father’s child support obligation to the amounts contained in the proposed order, notwithstanding the evidence presented, the Final Administrative Support Order is contrary to Florida law and not supported by competent, substantial evidence. Accordingly, we vacate the order and remand for further proceedings.
ROBERTS, C.J., SWANSON, and ■' KELSEY, JJ., concur.
